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                  Form B1, p.1 (12/11)


                                                        United States Bankruptcy Court
                                                                                                                                                             Voluntary Petition
                                                     Eastern            District of       Texas
Name of Debtor(if individual, enter Last, First, Middle):                                              Name of Joint Debtor (Spouse) (Last, First, Middle):
Optovision Technologies, Inc.
All Other Names used by the debtor in the last 8 years (include                                        All Other Names used by the joint debtor in the last 8 years (include
maiden and trade names):                                                                               maiden and trade names):


Last four digits of Soc. Sec. No./Complete EIN or other Tax I.D. No.                                   Last four digits of Soc. Sec. No./Complete EIN or other Tax I.D. No.
(if more than one, state all): XX-XXXXXXX                                                              (if more than one, state all):
Street Address of Debtor (No. & Street, City and State):                                               Street Address of Joint Debtor (No. & Street, City and State):
2605 Anders Lane
                                                                            ZIP CODE                                                                                ZIP CODE
Plano TX                                                                   75093
County of Residence or of the Principal Place of Business:                                             County of Residence or of the Principal Place of Business:
Collin
Mailing Address of Debtor (if different from street address):                                          Mailing Address of Joint Debtor (if different from street address):

                                                                            ZIP CODE                                                                                ZIP CODE


Location of Principal Assets of Business Debtor (if different from street address above):                                                                           ZIP CODE
10510 Olympic Drive                                          Dallas, TX. 75220
Type of Debtor (Form of Organization)                             Nature of Business                        Chapter of Bankruptcy Code Under Which the Petition is Filed
              (Check one box)                                      (Check one box)                                                (Check one box)
    Individual (includes Joint Debtors)
   See Exhibit D on page 2 of this form.                  Health Care Business                        x   Chapter 7      Chapter 11         Chapter 15 Petition for Recognition
 x Corporation (includes LLC and LLP)                     Single Asset Real Estate as                     Chapter 9      Chapter 12         of a Foreign Main Proceeding
    Partnership                                           defined in 11 U.S.C. §101(51B)                          Chapter 13                Chapter 15 Petition for Recognition
    Other (If debtor is not one of the                                                                                                      of a Foreign Nonmain Proceeding
                                                          Railroad
    above entities, check this box and                                                                                         Nature of Debts (check one box)
    state type of entity below.)                          Stockbroker                                      Debts are primarily consumer debts,         x Debts are primarily
                                                          Commodity Broker                                 defined in 11 U.S.C. § 101(8) as               business debts.
               Tax-Exempt Entity                          Clearing Bank                                    "incurred by an individual primarily for
           (Check box, if applicable.)                                                                     a personal, family, or house-
                                                        x Other                                            hold purpose."
     Debtor is a tax-exempt organization
     under Title 26 of the United States
     Code (the Internal Revenue Code).                                                                                                Chapter 11 Debtors
                                                                                                          Check one box:
                             Filing Fee (Check one box)                                                   Debtor is a small business debtor as defined in 11 U.S.C. §101(51D).
 x   Full Filing Fee attached                                                                             Debtor is not a small business debtor as defined in 11 U.S.C. §101(51D).
     Filing Fee to be paid in installments (Applicable to individuals only). Must                         Check if:
     attach signed application for the court's consideration certifying that the                          Debtor's aggregate noncontingent liquidated debts (excluding debts
     debtor is unable to pay fee except in installments. Rule 1006(b). See                                owed to insiders or affiliates) are less than $2,190,000.
     See Official Form 3A.
     Filing Fee Waiver requested (Applicable to chapter 7 individuals only).                         Check all applicable boxes:
     Must attach signed application for the court's consideration. See Official                         A plan is being filed with this petition.
     Form 3B.                                                                                           Acceptances of the plan were solicited prepetition from one or more classes
                                                                                                        of creditors in accordance with 11 U.S.C. § 1126(b).
Statistical/Administrative Information                                                                                                                        THIS SPACE FOR COURT USE ONLY


       Debtor estimates that funds will be available for distribution to unsecured creditors.
 x     Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds for distribution to
       unsecured creditors

Estimated number                1-         50-     100-          200-      1,000-         5,001-      10,001-        25,001-        50,001-        OVER
of Creditors                    49         99      199           999       5,000         10,000       25,000         50,000         100,000        100,000
                                x

Estimated Assets
  $0 to $50,001 to $100,001 to $500,001 to $1,000,001 to $10,000,001$50,000,001 $100,000,001$500,000,001More than
 $50,000 $100,000 $500,000 $1 million      $10 million to $50 million to $100 millionto $500 millionto $1 billion to $1 billion
   x
Estimated Debts
 $0 to $50,001 to $100,001 to $500,001
                                       $1,000,001 to $10,000,001 $50,000,001 $100,000,001$500,000,001More than
$50,000 $100,000 $500,000 $1 million $10 million to $50 million to $100 millionto $500 millionto $1 billion to $1 billion
                                                             x
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Voluntary Petition                                                                Name of Debtor(s):
(This page must be completed and filed in every case)                             Optovision Technologies, Inc.
                                     All prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
Location                                                                          Case Number                                          Date Filed:
Where Filed:


                          Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)

Name of Debtor:                                                                   Case Number:                                         Date Filed:

District                                                                          Relationship:                                         Judge:


                                    Exhibit A                                                                                  Exhibit B
                                                                                       (To be completed if debtor is an individual whose debts are primarily consumer debts.)
(To be completed if debtor is required to file periodic reports (e.g.,
                                                                                   I, the attorney for the petitioner named in the foregoing petition, declare that I
forms 10K and 10Q) with the Securities and Exchange Commission
                                                                                   have informed the petitioner that [he or she] may proceed under chapter 7, 11,
pursuant to Section 13 or 15(d) of the Securities Exchange Act of
                                                                                   12 or 13 of title 11, United States Code, and have explained the relief available
1934 and is requesting relief under chapter 11.)
                                                                                   under each such chapter. I further certify that I delivered to the debtor the
                                                                                   notice required by §342(b) of the Bankruptcy Code.
     Exhibit A is attached and made part of this petition.
                                                                                       /s/ Gregory T. Meyer                                                3/20/2012
                                                                                        Signature of Attorney for Debtor(s).                                 Date:
                                                                            Exhibit C
                                        Does the debtor own or have possession of any property that poses or is alleged to pose a threat of
                                                            imminent and identifiable harm to public health or safety?


     Yes, and Exhibit C is attached and made a part of this petition.

 x   No

                                                                                  Exhibit D
(To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a seperate Exhibit D.)

    Exhibt D completed and signed by the debtor is attached and made a part of this petition.
If this is a joint petition:
     Exhibit D also completed and signed by the joint debtor is attached and made part of this petition.


                                                                        Information Regarding the Debtor-Venue
                                                                              (Check any applicable box)


x    Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
     proceeding the date of this petition or for a longer part of such 180 days than in any other District.
     There is a bankruptcy case concerning debtor's affiliate, general partner or partnership pending in this District.

     Debtor is a debtor in a foreign proceeding and has its principal place of business, or principal assets in the United States in this District, or
     has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in
     this District, or the interests of the parties will be served in regard to the relief sought in this district.
                                             Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                                 (Check all applicable boxes)

     Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)

                                                                   Name of landlord that obtained judgment:




                                                                     Address of landlord:
     Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the entire
     monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
     Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period after the filing of the
     petition.

     Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. & 362(1)).
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Voluntary Petition                                                             Name of Debtor(s):
 (This page must be completed and filed in every case)                         Optovision Technologies, Inc.

                                                                        Signatures
        Signature(s) of Debtor(s) (Individual/Joint)                                       Signature of a Foreign Representative
 I declare under penalty of perjury that the information provided in this      I declare under penalty of perjury that the information provided in this
 petition is true and correct.                                                 petition is true and correct, that I am the foreign representative of a
                                                                               debtor in a foreign proceeding, and that I am authorized to file this
 [If petitioner is an individual whose debts are primarily consumer debts      petition.
 and has chosen to file under chapter 7] I am aware that I may proceed
 under chapter 7, 11, 12 or 13 of title 11, United States Code,                (Check only one box.)
 understand the relief available under each such chapter, and choose to
 proceed under chapter 7.                                                              I request relief in accordance with chapter 15 of title 11, United
                                                                                       States Code. Certified copies of the documents required by
 [If no attorney represents me and no bankruptcy petition preparer signs               §1515 of title 11 are attached.
 the petition] I have obtained and read the notice required by §342(b) of
 the Bankruptcy Code.
                                                                                       Pursuant to §1511 of title 11, United States Code, I request
                                                                                       relief in accordance with the chapter of title 11 specified in this
 I request relief in accordance with the chapter title 11, United States
                                                                                       petition. A certified copy of the order granting recognition of
 Code, specified in this petition.
                                                                                       the foreign main proceeding is attached.
X Optovision Technologies, Inc.
    Signature of Debtor                                                        X
                                                                                   (Signature of Foreign Representative)
X
    Signature of Joint Debtor
                                                                                   (Printed Name of Foreign Representative)
    Telephone Number (If not represented by attorney)                              3/20/2012
                                                 3/20/2012                         Date
                                                Date
            Signature of Attorney                                              Signature of Non-Attorney Bankruptcy Petition Preparer
X /s/ Gregory T. Meyer                                                         I declare under penalty of perjury that: (1) I am a bankruptcy petition
    Signature of Attorney for Debtor(s)                                        preparer as defined in U.S.C. §110; (2) I prepared this document for
    Printed Name of Attorney for Debtor(s)                                     compensation and have provided the debtor with a copy of this document
    Gregory T. Meyer                                                           and the notices and information required under 11 U.S.C. §§110(b), 110(h),
                                                                               and 342(b); and, (3) if rules or guidelines have been promulgated pursuant to
    Firm Name
                                                                               11 U.S.C. §110(h) setting a maximum fee for services chargeable by
    Meyer & Colegrove, PLLC                                                    bankruptcy petition preparers, I have given the debtor notice of the maximum
    Address                                                                    amount before preparing any document for filing for a debtor or accepting
    5700 Granite Parkway, Suite 470                                            any fee from the debtor as required in that section. Official Form 19B is
    Plano, TX. 75024                                                           attached.
    Telephone Number                                                           Printed Name and title, if any, of Bankruptcy Petition Preparer
    972-334-0091
    Date 3/20/2012                                                             Social Security number(If the bankruptcy petition preparer is not an
*In a case in which § 707(b)(4)(D) applies, this signature also constitutes    individual, state the Social Security number of the officer, principal,
a certification that the attorney has no knowledge after an inquiry that the   responsible person or partner of the bankruptcy petition
information in the schedules is incorrect.                                     preparer.)(Required by 11 U.S.C. §110.)
                                                                               Address
      Signature of Debtor(Corporation/Partnership)
I declare under penalty of perjury that the information provided in
this petition is true and correct, and that I have been authorized to
file this petition on behalf of the debtor.                                    X
                                                                               Date 3/20/2012
The debtor requests relief in accordance with the chapter of title 11,         Signature of Bankruptcy Petition Preparer or officer, principal,
United States Code, specified in this petition.                                responsible person, or partner whose Social Security number is provided
                                                                               above.
X /s/ Peter Zuccarelli - President
    Signature of Authorized Individual
                                                                               Names and Social Security numbers of all other individuals who prepared
  /s/ Peter Zuccarelli - President                                             or assisted in preparing this document unless the bankruptcy petition
    Printed Name of Authorized Individual                                      preparer is not an individual:

                                                                               If more than one person prepared this document, attach additional sheets
                                                                               conforming to the appropriate official form for each person.
    Title of Authorized Individual
                                                                               A bankruptcy petition preparer's failure to comply with the provisions of
                                                                               title 11 and the Federal Rules of Bankruptcy Procedure may result in fines
    Date   3/20/2012                                                           or imprisonment or both 11 U.S.C. §110; 18 U.S.C. §156.
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         3092 - Verification of Creditor Matrix. 12/95



                                        UNITED STATES BANKRUPTCY COURT
                                                   Eastern DISTRICT OF Texas



In re:   Optovision Technologies, Inc.                                                     Case No.
                                                                             Debtor(s)
                                                                                           Chapter    7




                                   VERIFICATION OF CREDITOR MATRIX

         The above-named debtor(s) hereby verify that the attached list of creditors is true and correct
to the best of their knowledge.




Dated: 03/20/12



Debtor Optovision Technologies, Inc.
       Optovision Technologies, Inc.

Debtor
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                                     Paul Hoffman
                                     Paul A. Hoffman, P.C.
                                     5400 LBJ Freeway
                                     Suite 1200
                                     Dallas, TX. 75240


                                     Jones and Mauldin Real Estat
                                     Partership, Ltd.
                                     5920 Forest Park Rd.
                                     Suite 600
                                     Dallas, TX. 75235-6416
